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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

  IN RE: FEMA TRAILER                              MDL NO. 07-1873
  FORMALDEHYDE PRODUCT
  LIABILITY LITIGATION                             SECTION N-4

                                                   JUDGE ENGELHARDT
  THIS DOCUMENT IS RELATED TO
  THE ADMINISTRATIVE MASTER
  COMPLAINT                                        MAG. JUDGE ROBY



                                        ORDER

         Considering the foregoing;

         IT IS HEREBY ORDERED that the Motion to Dismiss filed by Newly Added

  Defendant Palm Harbor Homes, Inc. be and is hereby, withdrawn; and furthermore the

  Motion to Withdraw is GRANTED.

         New Orleans, Louisiana, this ___ day of __________________, 2008.


                                      ___________________________________
                                      UNITED STATES DISTRICT JUDGE
